                                                                         027,21*5$17('



                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )
vs.                                          )          No. 3:11-cr-00012-22
                                             )          Judge Kevin Sharp
ALTO PARNELL                                 )


  SECOND MOTION TO EXTEND THE DEADLINE FOR FILING POST-TRIAL
   MOTION FOR JUDGMENT OF ACQUITTAL NOTWITHSTANDING THE
                        VERDICT AND
                    MOTION FOR NEW TRIAL

         COMES NOW Defendant Alto Parnell, by and through his undersigned

 counsel, and respectfully requests a second extension of the deadline for filing a

 Motion for Judgment of Acquittal Notwithstanding the Verdict and also a Motion for

 New Trial until and including September 30, 2013. In support hereof, Defendant Parnell

 states as follows:

         1.   On September 2, 2013, Defendant Parnell filed his first motion to extend the

 deadline for filing post-trial motions. (DE 1796) On September 3, 2013 this Court granted

 that motion and extended the deadlines until September 23, 2013. (DE 1797) On

 September 3, 2013 the Defendant submitted a request for the transcript of his trial. (DE

 1798)

         2.   The Defendant sought the production of his trial transcript to aid in the

 preparation of his post-trial motions. As of the date of the submission of this second

 motion for extension of time he has not received notice that the transcripts are complete.

         3.   Undersigned counsel is hopeful that extending the filing deadline until and



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